           Case 1:08-cr-10224-DPW Document 24-1 Filed 03/21/10 Page 1 of 7




                             Wireless Intrusions and Data Thefts

Gonzalez's Initial Wireless Compromise of BJ's With Scott

       Christopher Scott had known Albert Gonzalez since high school when, in 2003, Gonzalez

returned home to Miami and began collaborating with Scott on compromising retailers’ wireless

access points in order to steal and sell track 2 data stored by them.1

       BJ's Wholesale Club was the first intrusion Scott committed with Gonzalez in order to

get track 2 data. The two discovered an open wireless access point at a BJ’s Wholesale Club

location while "wardriving" – i.e., driving around a neighborhood with a laptop computer

equipped with a wireless antenna looking for open wireless access points. The BJ's Wholesale

Club's wireless access point was unencrypted and the two were able to place a packet "sniffer" (a

program which captures network traffic) on the store’s network. Using this first BJ’s Wholesale

Club location as a beachhead, Gonzalez and Scott moved over the BJ’s computer network from

store to store via an open and unprotected FTP server, downloading track 2 data from different

BJ’s stores. (FTP, or file transfer protocol, is a protocol which allows files to be transferred

across the Internet.) Gonzalez left Scott to download data from BJ's day after day. Scott gave

the downloaded track 2 data to Gonzalez, who in turn sold it. In all, Scott estimates that he and

Gonzalez sold at least 300,000 to 400,000 credit card numbers from BJ's. For his work on BJ's,


       1
           At the request of Scott’s defense counsel, the government has endeavored here to
identify those facts to which Scott admitted at the time of the search of his residence on May 7,
2008. As acknowledged by Scott in the plea agreement into which he subsequently entered on
July 7, 2008, no promises, representations or agreements were made to him other than those set
forth in the plea agreement and the proffer agreement dated June 3, 2008. Accordingly, nothing
restricts the use of these facts for the purpose of sentencing. In addition, these facts have since
been confirmed in material part by the statements of one or more coconspirators.
         Statements made by Scott under the protection accorded by the plea and/or proffer
agreements have been so identified.

                                                 -1-
           Case 1:08-cr-10224-DPW Document 24-1 Filed 03/21/10 Page 2 of 7




Gonzalez paid Scott approximately $35,000 in cash.2

Subsequent Wireless Data Thefts by Gonzalez, Scott and J. J.

       After the BJ's intrusion, J. J. became involved in the hacking and downloading, while

Gonzalez concentrated on selling the card data and handling the proceeds. Between 2004 and

2007, Scott, J. J. and Gonzalez compromised numerous vulnerable wireless access points,

gaining access to the payment card transaction processing networks of OfficeMax, DSW, Sports

Authority, Boston Market, Barnes & Noble, TJX Companies ("TJX"), and Target Corporation

("Target").3   Of these, three – OfficeMax, TJX and Target – require more detailed explication.

OfficeMax

       Scott hacked into OfficeMax through a wireless access point with vulnerable WEP

encryption and was joined by J. J. in exploiting the vulnerability. (WEP is a data encryption

method used to protect data transmitted wirelessly, now widely recognized as flawed.) The

OfficeMax intrusion differed from the groups’ prior data thefts because the group was able to

capture debit card data and PINs, rather than credit card information. The PINs they

downloaded were encrypted in a way they did not understand. They gave the debit card data and

PINs to Gonzalez, who used an unidentified co-conspirator to break the PINs' encryption

scheme. It took the unidentified co-conspirator a year to a year-and-a-half to break the


       2
           Scott admitted to committing the BJ’s data theft when his house was searched and
computer equipment seized pursuant to a search warrant on May 7, 2008. Details contained in
this section were fleshed out subsequently by Scott pursuant to the terms of proffer and plea
agreements in this case.
       3
          Scott admitted at the time of the searches to his involvement in the intrusions into and
data thefts from B.J.’s, Sports Authority, and Marshalls, the subsidiary through which TJX
financial process server was attacked. The remainder of the victims were identified by him
pursuant to the terms of proffer and plea agreements in this case.

                                                -2-
           Case 1:08-cr-10224-DPW Document 24-1 Filed 03/21/10 Page 3 of 7




encryption, delaying the sale of the carding information.

       After the PINs were decrypted, Gonzalez exploited the debit card data both by selling the

data in bulk with co-conspirator, Maksym Yastremskiiy (“Maksik”),4 and “cashing out” the

cards directly, through co-conspirator J. W. and others. Gonzalez sold large portions of the

stolen debit card identity information to Yastremskiiy, then an international “dumps vendor” (or

marketer of track 2 data) living in the Ukraine. At the same time, he used J. W. and others to

“cash out” blank debit cards fraudulently imprinted with the stolen data at ATM’s in California,

Arizona, Pennsylvania and elsewhere.

TJX

       Scott initially hacked into TJX’s computer network in the summer of 2005 by

compromising wireless connection points at two stores owned by TJX’s Marshalls subsidiary in

Miami, Florida.5 Within a week or two, Scott had accessed the main TJX servers that processed

payment card transactions. Over the coming months, Scott and J. J. downloaded files storing

tens of millions of payment card numbers that TJX had stored electronically there. Scott gave the

data to Gonzalez for sale.

       In the middle of 2006, Scott installed a VPN (virtual private network) connection

between TJX’s financial transaction processing servers and a server Gonzalez had obtained in

California. This let Gonzalez and Scott access TJX over the internet (and eliminating the need to



       4
         Maksym Yastremskiiy is under arrest in Turkey and is awaiting extradition in a related
case brought by the U.S. Attorney’s Office in San Diego.
       5
         Scott admitted to hacking Marshalls during the execution of the search warrant at his
residence on May 7. He provided the additional details of the TJX intrusion found in this
paragraph pursuant to proffer and plea agreements with him.

                                               -3-
             Case 1:08-cr-10224-DPW Document 24-1 Filed 03/21/10 Page 4 of 7




be in uncomfortably close physical proximity to the Marhalls stores’ wireless access points each

time they accessed the TJX servers). Contemporaneously, beginning on May 15, 2006, and

continuing for some days thereafter, Scott uploaded “sniffer programs” provided him by

Gonzalez to a critical TJX payment card transaction processing server. Sniffer programs

monitor traffic across a computer network. Gonzalez and Scott sought, and ultimately

succeeded, in capturing current, unencrypted credit card data as it traveled across TJX’s network

while store transactions were being processed. Gonzalez’s intimate associate, Stephen Watt,

adapted and provided the program – in varying iterations titled “blabla.exe” and “lssas.exe” –

for the task.6

Target

         Toey had moved to Miami in the fall of 2007 at the invitation of Gonzalez, and lived rent

free there in Gonzalez's condominium. Gonzalez brought Scott over to the apartment with a

specialized high power wireless antenna. (The antenna was still in the condominium when it

was searched pursuant to a warrant on May 7, 2008.) Once Scott arrived, Scott connected the

antenna to his laptop and began scanning for wireless signals. He was able to locate Target's

wireless signal and log on to one of their internal servers using credentials that he had obtained

previously. The download on this occasion was overshadowed in size by those of the earlier

retailers, and was the last of the conspirators’ wireless access points attacks.




         6
          While mutually corroborative statements and forensic evidence link Gonzalez, Scott
and Watt to the TJX intrusion and data theft, the government is not aware of any evidence
linking Toey to the intrusion or data theft, itself. He did, however, sell credit card information
stolen from TJX, as summarized above.

                                                 -4-
        Case 1:08-cr-10224-DPW Document 24-1 Filed 03/21/10 Page 5 of 7




                   The Transition to Internet-Based Security Compromises

       While living in Gonzalez’s Miami apartment, Toey provided Gonzalez assistance in

performing web-based attacks on companies in order to gain access to their computers and

information from which the conspirators could benefit, including dumps.

       Toey was successful on a number of occasions in gaining access to computer networks

over the internet. Typically, Toey sought to gain access to networks through vulnerabilities in

the programming of companies’ databases, using a technique known as an SQL injection attack.

He would then pass the information along to Gonzalez, who would continue hacking the

networks himself looking for sensitive financial information, or would pass the information

along to another group of hackers for this purpose. By way of example, Toey found a

vulnerability in the computer network operated by specialty clothing retailer Forever 21 and

gained access to it. He passed the means of access along to Gonzalez, who worked on it with

another hacker to obtain payment card information.

       Toey also set up computer servers for Gonzalez and his co-conspirators in Latvia and the

Ukraine. Gonzalez had root, or unrestricted, access to files on both servers. The Latvian server

stored over 16 million distinct credit/debit card numbers. It also contained a folder, to which

both Gonzalez and Watt had access, which contained numerous files, including “blabla.exe” and

“blabla.c,” which possess distinctive features that demonstrate them to be a variants of the same

code of the blabla.exe sniffer that had been uploaded to the TJX server in May, 2006, and the

Dave and Buster’s restaurant chain in 2007. The Ukrainian server contained more than 25




                                                -5-
           Case 1:08-cr-10224-DPW Document 24-1 Filed 03/21/10 Page 6 of 7




million distinct credit and debit card numbers.7

                                  Money and Money Movement

       Gonzalez made well over a million dollars from his computer intrusions, data thefts and

frauds. Scott made between three hundred and five hundred thousand dollars during the course

of the conspiracy;8 Toey made less – in the area of eighty thousand dollars.

       Gonzalez used sophisticated techniques to launder the proceeds of the conspiracy's

unlawful activities. For example, Toey generally received payment for dumps that he sold in

web currency, internet payment systems designed to conceal the participants in a transaction. On

several occasions, Gonzalez instructed Toey to transfer proceeds of the sales of dumps to one of

two numbered e-gold web currency accounts which Gonzalez controlled under the user name

"segvec." On other occasions, Gonzalez instructed Toey to transfer the proceeds of the sale of

dumps to web currency converters Western Express and Roboxchange, who would then wire

money to bank accounts controlled by Gonzalez under an alias in Latvia. Gonzalez sent Toey

payments via Western Union, which reflected the sender as being a foreign individual Toey did

not know. Gonzalez similarly sent Toey cash using a fictitious return address.

       Co-conspirator J. W. who “cashed out” hundreds of thousands of dollars from payment

cards stolen by Gonzalez and Scott, sent several packages to a mail drop leased by them in the

name of an unwitting individual. Scott picked up the packages and split the bundles of cash they

contained with Gonzalez. Scott also received an ATM card in a spurious name at this maildrop,



       7
         The payment card data stored on the servers slightly overlap; there remain, however,
more than 40,000,000 distinct payment card numbers stored on the two.
       8
           Scott admitted to receiving these payments at the time of the search of his residence.

                                                   -6-
           Case 1:08-cr-10224-DPW Document 24-1 Filed 03/21/10 Page 7 of 7




sent to him from a foreign bank at the direction of Gonzalez. Gonzalez transferred funds to the

account backing the ATM card, and Scott used it to repatriate tens of thousands of dollars in

payments for his hacking.9




       9
         The pick-up of packages and the use of the ATM card were described by Scott
following his execution of the proffer and plea agreements.

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